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                                            No. 24-5220

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

 STATE OF TENNESSEE,                                 )
                                                     )
         Plaintiff-Appellant,                        )
                                                     )
 v.                                                  )            ORDER
                                                     )
 XAVIER BECERRA, in his official capacity as         )
 Secretary of Health and Human Services;             )
 UNITED STATES DEPARTMENT OF                         )
 HEALTH AND HUMAN SERVICES;                          )
 JESSICA S. MARCELLA, in her official                )
 capacity as Deputy Assistant Secretary for          )
 Population    Affairs;    OFFICE        OF          )
 POPULATION AFFAIRS,                                 )
                                                     )
         Defendants-Appellees.                       )


        The plaintiff, State of Tennessee, appeals the district court’s denial of a preliminary

injunction. The plaintiff moves to expedite the briefing schedule, oral argument, and decision.

        Matters are not scheduled for oral argument prior to the completion of principal briefing.

The motion to expedite is GRANTED IN PART, insofar as the briefed appeal will be submitted

to the court at the earliest practicable date that the court’s schedule will permit. The determination

of when and whether oral argument will be held are reserved to the merits panel to which this

appeal will be assigned.

        To ensure submission to the court as soon as is practicable, the plaintiff shall file its

principal brief and any appendix by April 5, 2024. The defendants shall file their principal brief

and any appendix by April 26, 2024, and the plaintiff may file any optional reply brief by May 6,

2024.

        No extensions of time will be granted.
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                                                           ENTERED PURSUANT TO RULE 45(a)
                                                           RULES OF THE SIXTH CIRCUIT




                                                           Kelly L. Stephens, Clerk




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